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  8

  9                        UNITED STATES DISTRICT COURT
 10        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11

 12   PAZ DE LA HUERTA,                   )   CASE NO.:
 13
                                          )
                   Plaintiff,             )   Removed from the Superior Court of
 14                                       )   California for the County of Los
 15         vs.                           )   Angeles, Case No. 18STCV04723
                                          )
 16
      HARVEY WEINSTEIN, an                )   NOTICE OF REMOVAL OF
 17   individual; THE WEINSTEIN           )   ACTION UNDER 28 U.S.C. § 1331
      COMPANY, a Delaware LLC;            )   (FEDERAL QUESTION)
 18
      FOUR SEASONS HOTEL, LTD; a          )
 19   Canadian Corporation; BURTON        )
 20
      WAY HOTELS, LTD, a California       )   JURY TRIAL DEMANDED
      Limited Partnership; BURTON         )
 21
      WAY HOTELS LLC, a Delaware          )
 22   LLC; and DOES 1 through 25,         )
      inclusive,                          )
 23
                                          )
 24                Defendants.            )
 25
            TO THE COURT, TO PLAINTIFF, AND TO HER ATTORNEY OF
 26
      RECORD:
 27

 28
                                              1
                  NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1331
                               (FEDERAL QUESTION)
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  1          PLEASE TAKE NOTICE that Defendants BURTON WAY HOTELS,
  2   LLC, and FOUR SEASONS HOTELS LIMITED (“Four Seasons”) hereby
  3   remove this case from the Superior Court of California for the County of Los
  4   Angeles to the United States District Court for the Central District of California,
  5   Western Division, under 28 U.S.C. § 1331. Four Seasons deny plaintiff PAZ DE
  6   LA HUERTA’s (“Huerta”) allegations in the Complaint and files this notice
  7   without waiving any defenses, exceptions, or obligations that may exist in its favor
  8   in state or federal court.
  9   I.     STATEMENT OF COMMENCEMENT OF CASE
 10          1.     Huerta’s original complaint was filed on November 13, 2018. This
 11   litigation arises from the alleged predatory actions of Harvey Weinstein at various
 12   locations in the United States. Huerta is an alleged victim of Weinstein’s, one
 13   instance of which plaintiff alleges occurred in January of 2011 at the Four Seasons
 14   Hotel Los Angeles at Beverly Hills (“Four Seasons LA”). Huerta alleges that the
 15   defendants are liable for the alleged January 2011 incident wherein Weinstein
 16   allegedly exposed himself to Huerta in his hotel room at the Four Seasons LA.
 17          2.     In particular, Huerta alleges that the defendants are liable because
 18   they were on notice that Weinstein is an alleged sexual predator, and that they
 19   failed to notify third parties, including Huerta, of the danger of being alone with
 20   Weinstein. Plaintiff further alleges that the defendants actively assisted Weinstein
 21   in his alleged predation, and were paid for doing so.
 22          3.     Huerta then filed a first amended complaint on February 19, 2019. In
 23   Huerta’s First Amended Complaint, plaintiff adds a new cause of action entitled:
 24   “Sixth Cause of Action Count II – Participating in a Venture in Violation of 18
 25   U.S.C. § 1591.
 26          4.     The addition of this new sixth cause of action renders the case one in
 27   which this court has original jurisdiction pursuant to 28 U.S.C. § 1331 – federal
 28
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                  NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1331
                               (FEDERAL QUESTION)
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  1   question jurisdiction – as federal law gives rise to Huerta’s new 6th Cause of
  2   Action, Merrel Dow Pham, Inc. v. Thomson, (1986) 478 US 804, 808, and is one
  3   which may be removed to this court by these defendants pursuant to 28 U.S.C. §
  4   1441(a) in that it arises under “the Constitution, law or treaties of the United
  5   States” 28 U.S.C. § 1331.
  6   II.    PLEADINGS AND NOTICE TO STATE COURT
  7          5.      True and correct copies of the Summons, Civil Case Cover Sheet, and
  8   Complaint attached hereto as Exhibit A, and First Amended Complaint attached
  9   hereto as Exhibit B; are being filed with this Notice of Removal. Pursuant to 28
 10   U.S.C. § 1446(d), written notice of this removal is being served on Plaintiff and
 11   filed with the Superior Court of California for the County of Los Angeles.
 12   III.   TIMELINESS OF REMOVAL
 13          6.      Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is timely
 14   filed “within 30 days after the receipt by [Four Seasons], through service or
 15   otherwise, of a copy of Huerta’s first amended complaint [served to Four Season’s
 16   counsel on or about February 19, 2019, and] setting forth the claim for relief upon
 17   which such action or proceeding is based.” See also Murphy Bros. v. Michetti
 18   Pipe Stringing, Inc., 526 U.S. 344, 354 (1999).
 19          7.      Importantly, the 30-day period commences only upon formal service
 20   of process and not upon any other form of notice or the mere receipt of the
 21   Complaint. See id. at 348 (“[W]e hold that a named defendant’s time to remove is
 22   triggered by simultaneous service of the summons and complaint, or receipt of the
 23   complaint, through service or otherwise, after and apart from service of the
 24   summons, but not by mere receipt of the complaint unattended by any formal
 25   service.”).
 26          8.      This Removal is filed within the March 22, 2019 deadline set out in
 27   28 U.S.C. § 1446(b).
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                    NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1331
                                 (FEDERAL QUESTION)
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  1   IV.   STATEMENT OF STATUTORY BASIS FOR JURISDICTION
  2         9.      This action is within the original jurisdiction of the United States
  3   District Court pursuant to 28 U.S.C. § 1331. This statute provides, that “[T]he
  4   district courts shall have original jurisdiction of all civil actions arising under the
  5   Constitution, laws, or treaties of the United States.
  6         10.     In addition, to federal question jurisdiction of 28 U.S.C. § 1331,
  7   removal is proper in that Huerta’s first amended complaint specifically pleads a
  8   cause of action stemming from Four Seasons’ alleged violation of 18 U.S.C.
  9   §1591.      Further, 18 U.S.C. § 1595(a) contemplates the relief available for an
 10   alleged violation of 1591, and reads in relevant part: “An individual who is a
 11   victim of a violation of this chapter may bring a civil action against the perpetrator
 12   (or whoever knowingly benefits, financially or by receiving anything of value
 13   from participation in a venture which that person knew or should have known has
 14   engaged in an act in violation of this chapter) in an appropriate district court of
 15   the United States and may recover damages and reasonable attorneys fees.”
 16         11.     Further, the proof of service attached to Huerta’s First Amended
 17   Complaint indicates that service of the first amended complaint was made to
 18   defendant Harvey Weinstein in Jericho, New York. Thus, diversity of citizenship
 19   exists pursuant to 28 U.S.C. § 1332 and 28 U.S.C. 1441(b).
 20         12.     Pursuant to 28 U.S.C. § 1332, this court has jurisdiction over this
 21   matter based on Diversity in that it involves citizens of different states, California
 22   and New York. 28 U.S.C. § 1332(a) 1, 3, 4.
 23         13.     Additionally, to qualify under diversity of citizenship “the matter in
 24   controversy must exceed the sum of value of $75,000.” 28 U.S.C. § 1332(a).
 25   Plaintiff has stated in her first amended complaint, that she is seeking at least $55
 26   million for damage to her career, as well as punitive damages.
 27   ///
 28
                                                 4
                   NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1331
                                (FEDERAL QUESTION)
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  1   V.    JURY DEMAND
  2         Four Seasons hereby demands a trial by jury.
  3   VI.   REMOVAL
  4         WHEREFORE, Four Seasons respectfully removes this action to the
  5   United States District Court for the Central District of California, Western
  6   Division, and pray for such relief as the Court deems just and proper.
  7

  8   Dated:       March 22, 2019               P.K. SCHRIEFFER LLP
  9

 10
                                            By: __/s/ Paul K. Schrieffer___________
                                                Paul K. Schrieffer, Esq.
 11                                             Carol A. Baidas, Esq.
 12                                             Attorneys for Defendants, BURTON
                                                WAY HOTELS, LLC, and FOUR
 13
                                                SEASONS HOTELS LIMITED
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                 NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1331
                              (FEDERAL QUESTION)
